







		NO. 12-09-00136-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: CURTIS ANTONIO DAVIS,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


PER CURIAM


	Relator Curtis Antonio Davis seeks a writ of mandamus requiring the respondent, the
Honorable Jack Skeen, Jr., Judge of the 241st Judicial District Court, Smith County, Texas, to act
on Davis's pending applications for writ of habeas corpus, which arise from two misdemeanor cases
(trial court cause numbers 68,554-A and 71,585-A).

	Davis has now notified this court that the respondent trial court has acted on the two pending
habeas applications and denied habeas relief.  We have also received a copy of the order signed by
the trial court denying such relief.  Accordingly, we dismiss Davis's petition for writ of mandamus
as moot.

Opinion delivered June 10, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.





(DO NOT PUBLISH)


